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                             UNITED STATES DISTRICT COURT
                                  DISTRICT OF MAINE

  ............................................           )
  JAROSLAV HORNOF, et al.                                )
                                                         )
         Plaintiffs,                                     )
                                                         )
  v.                                                     )     CASE NO.: 2:19-cv-00198-JDL
                                                         )
  UNITED STATES OF AMERICA, et al.                       )
                                                         )
       Defendants.                                       )
  ........................................               )

                          PLAINTIFFS’ MEMORANDUM OF LAW
                       PURSUANT TO ORDER DATED MARCH 10, 2023

        NOW COME plaintiffs, Jaroslav Hornof, Damir Kordic and Lucas Zak, and submit the

 following memorandum pursuant to the Court’s order dated March 10, 2023 (ECF No. 185)

 addressing the Court’s questions.

                                         BACKGROUND

        The following facts are especially germane to the Court’s inquiry, including facts that

 become relevant given the questions posed and theories suggested by the Court:

        The M/V Marguerita arrived in the Port of Portland on July 7, 2017. Starting weeks

 before the vessel’s arrival, its owner, manager and attorney advised the Coast Guard that it had

 received and investigated and at least in part confirmed crew reports (specifically from Plaintiff

 Hornof) of improper high seas bilge discharges and of a corrective oil record book entry noting

 that prior ORB entries were not reliable. Without requesting clarifying information or

 acknowledging the communications, various Coast Guard officials, including criminal

 investigators, boarded the vessel expecting to detain the vessel, confine the crew onboard, and

 negotiate an “Agreement on Security” under which crewmembers would be required to come


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 ashore as part of the “surety” in exchange for the vessel’s release so that American officials

 could collect fines for foreign high-seas conduct and record keeping. See Plaintiffs’ Additional

 Statement of Material Facts (“ASMF”), ¶¶ 6-8, 21, 32-33.

        However, before these Coast Guard officials boarded, U.S. Customs and Border

 Protection (CBP) personnel had boarded the vessel and granted the entire crew, including

 Plaintiffs, valid shore passes and either D-1 or D-2 permits. Id., ¶ 20. Plaintiffs Hornof and

 Kordic were issued D-1 passes, permitting them to travel freely in the United States until the

 departure of the vessel, for up to twenty-nine days. See Joint Statement of Facts (“JSF”) ¶ 40,

 Stipulated Record Exhibit 13. Plaintiff Zak, whose service on the vessel had ended, received a

 D-2 pass, enabling him to proceed to the Portland Jetport and fly back to his home in Slovakia on

 government-approved flights. See ASMF ¶ 10; JSF ¶ 41.

        Because the Coast Guard had no legal basis for confining foreign crewmen who had been

 given official permission to come ashore, it prevailed on the CBP to revoke their shore passes

 and detain the crew. The summary judgment record includes relevant testimony demonstrating

 that CBP officials acted not to protect America’s borders, but only to accommodate the Coast

 Guard’s pre-planned criminal investigation and request. Senior CBP official Keith Fleming

 testified the CBP revoked the entire crew’s shore passes solely at the Coast Guard’s behest. See

 Deposition of Keith Fleming at 14, 19-20, 58 (Stipulated Record Exhibit 133, PageID # 6170,

 6171, 6181). At page 14, he testified as follows:


        We are -- as I mentioned earlier, we are really there to facilitate the request of the
        Coast Guard to withhold the clearance of the vessel and based on the request or
        the letter I got from Captain Baroody, you know, to contain the crew on board, I
        remand them back to the vessel so they could continue their investigation. CBP
        was never involved in any of this nor do I have any expertise in this.

 At page 19 he elaborated:

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          I received a call on the evening of the 7th from Captain Baroody who said that --
          he advised that they had -- basically had probable cause to believe that there had
          been an environmental crime committed on the vessel. He asked that we withhold
          Customs clearance on the vessel and the crewmen as they -- one, they were -- they
          didn't know exactly who they were going to be using for witnesses or need for
          witnesses. They needed time to sort that out to proceed with their investigation.

 At page 20 he further clarified:

          So based on that request, I delegated to my staff that we would withhold clearance
          of the vessel and we would revoke the shore passes and remand the crew back to
          the vessel.

 Finally, at page 58, Mr. Fleming explained again that CBP was merely accommodating and

 deferring to the Coast Guard:


          Q:You didn't attempt to make any determination that the Coast Guard had
          probable cause other than taking the word of the captain?

          A No, I take –

          Q You know him, he's an honorable guy, he's a senior guy, he says I have got
          probable cause, that's good enough for you, that's the way that worked, right?

          A Yes.1

 In revoking the duly issued shore passes, the CBP officials compelled each crew member to hand

 them over. PSF ¶ 54. They offered no explanation. ASMF ¶ 24. They had no legitimate or

 immigration-related reason. Rather, the CBP officials either conspired with the Coast Guard

 agents or acted as their cat’s paw. Id., ¶ 22.2



 1
  Although this portion of the record was not cited in Plaintiffs’ Additional Statement of Material Facts, Plaintiffs
 are now responding to contentions Defendant had never previously raised. Eight months after filing its motion,
 Defendant is now seeking summary judgment, at the Court’s invitation, based on new theories. Plaintiffs are
 appropriately supplementing their factual submission to address these new theories.
 2
  A “cat’s paw” is a “titular decisionmaker” who acts as a conduit or rubber stamp for others. See Russell v.
 McKinney Hospital Venture, 235 F.3d 219, 227 (5th Cir. 2000); Harlow v. Potter, 353 F. Supp. 2d 109, 115 (D. Me.
 2005). Liability will attach to those other persons, and their employers, when they act from improper motives and
 exert influence over the decisionmaker. See id.; see also Staub v. Procter Hospital, 562 U.S. 411, 422, 131 S. Ct.

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         The officials then arranged for the confinement of the entire crew, including Plaintiffs, on

 board the vessel from July 8 through July 16, 2017. Id., ¶ 28. The officials prohibited any of the

 crewmembers from leaving the vessel, posted a guard over them, and mustered them for the

 taking of attendance twice daily. Id., ¶ 29.

                                                  ARGUMENT

         1. 8 U.S.C.A. § 1252(a)(2)(B)(ii) does not bar judicial review of the decisions to (a)
            revoke the D-1 shore passes to Plaintiffs Hornof and Kordic and (b) revoke the
            D-2 shore pass of Plaintiff Zak, or (c) remand the Plaintiffs to the vessel.

              a. The decision to revoke the D-1 shore passes is not exempt from review.

         The Illegal Immigration Reform and Immigrant Responsibility Act of 1996 (IIRIRA)

 provides that no court shall have jurisdiction to review –

                 (ii) any other decision or action of the Attorney General or the Secretary of
         Homeland Security the authority for which is specified under this title to be in the
         discretion of the Attorney General or the Secretary of Homeland Security, other than the
         granting of relief under section 208(a).

 Pub. L. No. 104-208, 110 Stat. 3009-546, codified as amended at 8 U.S.C. § 1252(a)(2)(B)(ii).

 The Supreme Court has interpreted this provision to mean that “Congress barred court review of

 discretionary decisions only when Congress itself set out the Attorney General’s [or Secretary’s]

 discretionary authority in the statute.” Kucana v. Holder, 558 U.S. 233, 247, 130 S. Ct. 827, 175

 L. Ed. 2d 694 (2009). That is, the statute does not bar jurisdiction over all discretionary

 decisions or actions. Aguilar v. U.S. Immigration & Customs Enforcement Division, 510 F.3d 1,

 20 (1st Cir. 2007); Cho v. Gonzales, 404 F.3d 96, 99-100 (1st Cir. 2005); see Zhou v. Federal

 Bureau of Investigations, 2008 DNH 115, 2008 U.S. Dist. LEXIS 46186, *4 (D.N.H. June 12,

 2008). Rather, it applies only to decisions or actions “the authority for which is specified under



 1186, 179 L. Ed. 2d 144 (2011). Cat’s paw liability is invoked typically, but not exclusively, in employment
 discrimination cases. See id.

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 this subchapter to be in the discretion of” the Attorney General or Secretary. 8 U.S.C. §

 1252(a)(2)(B)(ii) (emphasis supplied). Accordingly, courts must “engage in a precise reading of

 both the agency decision and the petition” to determine whether the jurisdictional bar applies.

 Cho, 404 F.3d at 100. “If a statute does not explicitly specify a particular authority as

 discretionary, section 1252(a)(2)(B)(ii) does not bar judicial review of an ensuing agency

 action.” Aguilar, 510 F.3d at 20.

        Furthermore, even if a statute gives some discretion to an immigration officer, review

 will not be barred to the extent the officer’s decision depends on “inquires guided by objective

 statutory criteria,” because such decisions are not discretionary. See Cho, 404 F.3d at 101, citing

 Bernal-Vallejo v. INS, 195 F.3d 56, 62 (1st Cir. 1999).

        The question, then, is whether the statute allowing an immigration officer to revoke a

 temporary landing permit issued to a crewman endows the officer with unfettered discretion.

 Curiously, Defendant repeatedly argues that the statute authorizing the issuance of the landing

 permit, 8 U.S.C. § 1282(a), gives the officer discretion. But that provision is irrelevant. The

 CBP officials, after making the examination required by section 128/2(a), duly issued the landing

 permits to each Marguerita crewmember, including Plaintiffs. No one is challenging that

 decision. Assuming that the issuance of these permits was discretionary, it does not follow that

 their revocation was equally discretionary. The revocation statute makes clear the discretion to

 revoke is conditional and limited, as follows:

        Pursuant to regulations prescribed by the Attorney General, any immigration officer may,
        in his discretion, if he determines that an alien is not a bona fide crewman or does not
        intend to depart on the vessel or aircraft which brought him, revoke the conditional
        permit to land which was granted such crewman under the provisions of subsection
        (a)(1), take such crewman into custody, and require the master or commanding officer of
        the vessel or aircraft on which the crewman arrived to receive and detain him onboard
        such vessel or aircraft, if practicable, and such crewman shall be removed from the



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        United States at the expense of the transportation line which brought him to the United
        States.

 8 U.S.C. § 1282(b) (emphasis supplied). By its unambiguous terms, the statute affords discretion

 to revoke only after it is determined that the permittee is not a bona fide crewman (or does not

 intend to depart on the vessel that brought him). The determination that a purported

 crewmember is an imposter is a factual determination that, like any administrative decision, must

 have a demonstrable factual basis. If Congress had intended to insulate the determination of a

 crewmember’s phoniness from judicial review, it would have said, “if he determines, in his

 discretion, that an alien is not a bona fide crewman,” but section 1282(b) says nothing of the sort.

        By placing the initial responsibility to determine a crewmember’s bona fides in

 immigrations officials, Congress did not render such determinations unreviewable. Because

 virtually every immigration action involves a determination of one sort or another, such a

 reading (as the Third, Sixth and Eleventh Circuit have explained) would divest the courts of

 jurisdiction over every action covered anywhere in Title 8. K.Y. v. United States Attorney

 General, 43 F.4th 1175, 1186 (11th Cir. 2022); Berhane v. Holder, 606 F.3d 819, 822 (6th Cir.

 2010); Soltane v. U.S. Dep’t of Justice, 381 F.3d 143, 148 n. 3 (3d Cir. 2004) (Alito, J.). Even

 finding an implied discretion would not suffice; for section 1252(a)(2)(B)(ii) to apply, the

 discretion must be “specified” in the statute. 8 U.S.C. § 1252(a)(2)(B)(ii). “To ‘specify’ that a

 decision belongs to the Attorney General’s discretion requires more than a hint.” K.Y., 43 F.4th

 at 1186; Berhane, 606 F.3d at 821. Rather, the term “’specify’ means to ‘name or state explicitly

 or in detail.’” Kucana, 558 U.S. at 243 n. 10.

        Furthermore, in granting conditional discretion, conditioned on a finding that the

 permittee “is not a bona fide crewman” (or does not intend to depart), section 1282(b) provides

 objective criteria to be followed. By expressly granting discretion if , but only if, the

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 determination is made, the statute makes clear the immigration officials do not have discretion to

 simply declare an obvious and bona fide crewman is instead be an imposter. Either a permittee

 is a genuine member of the ship’s crew or he is not. Congress certainly did not intend CBP

 officials to have discretion to declare that which is obviously true to be false, though that is

 exactly what the CBP did here – at the Coast Guard’s request.

        The legislative history confirms that Congress expected the officers to make reviewable,

 objective, honest findings concerning a crewman’s genuiness before revocation of his landing

 permit. Section 1282(b) originated in the 1950 immigration report of the Senate Judiciary

 Committee, containing the recommendation that “[a]uthority should be granted to immigration

 officers… upon a satisfactory finding that an alien is not a bona fide crewman, to revoke the

 permission to land temporarily” and require that he be removed from the country. S. Rep. No.

 1515, 81st Cong., 2d Sess. at 558 (previously submitted at PageID # 7515).

        The First Circuit’s opinion in Cho, supra, buttresses the conclusion that the revocation of

 the D-1 permits is not insulated from the judicial process. There, the plaintiff had received

 conditional permanent residency based on marriage to a U.S. citizen. Cho, 404 F.3d at 97. After

 her divorce, she applied for a hardship waiver to remove the conditionality of her permanent

 residency. Id. The statute authorizing the Attorney General to grant such applications provided:

        The Attorney General, in the Attorney General’s discretion, may remove the conditional
        basis of the permanent resident status for an alien… if the alien demonstrates that…

                (B) The qualifying marriage was entered into in good faith by the alien spouse …

        In acting under applications in this paragraph, the Attorney General shall consider any
        credible evidence relevant to the application. The determination of what evidence is
        credible and the weight to be given that evidence shall be within the sole discretion of the
        Attorney General….




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 Id. at 98, citing 8 U.S.C. § 1186a(c)(4) (emphasis supplied). The Attorney General (acting

 through immigration officials) denied her application on the ground that she failed to establish

 that she had married in good faith. Id.

          Notwithstanding the italicized statutory language granting discretion, the First Circuit

 held that the Attorney General’s denial was not exempted from judicial review under section

 1252(a)(2)(B)(ii). In determining the relevant “decision or action” under the statute, the court

 declared it must examine “not simply the nature of the order itself” (i.e., denial of a hardship

 waiver application) but, rather, the rationale underlying the order (i.e., refusal to find a good-

 faith marriage). Id. at 99-100. The court explained the “sole discretion” language could not

 apply to the determination of whether an applicant had shown her marriage was entered into in

 good faith, which determination involved the tasks of “interpreting applicable background legal

 questions and applying those standards to the evidence ultimately credited and deemed weighty.”

 Id. at 101-02. It reasoned:

          Such a reading would broadly interpret the relevant statutory language, unnaturally we
          think, to yield an outlier enclave of administrative law in which the courts are stripped of
          their customary power to be the final word on the meaning of legal concepts imbedded in
          our immigration statutes. Not surprisingly, the Supreme Court has cautioned against such
          outcomes. See INS v. St. Cyr, 533, U.S. 289, 298, 150 L. Ed. 2d 347, 121 S. Ct. 2271
          (2001); see also Montero-Martinez, 277 F.3d at 1141.

 Id. at 102. The court overturned the decision, finding that the plaintiff had indeed satisfied the

 “good faith” marriage requirement. Id. at 104.

          Here, the grant of discretion is far weaker than that in Cho. The officer has no discretion

 to revoke a landing permit unless the permit holder either (a) is not a bona fide crewman or (b)

 does not intend to depart on the vessel that brought him.3 Any determination that these criteria


 3
  Defendant suggests that these “categories of revocability” are not exclusive, citing United States ex rel. Stellas v.
 Esperdy, 366 F.2d 266, 269 (2d Cir. 1966). See Defendant’s Memorandum (ECF No. 186) at 6 n. 3. The selective
 quotation from Esperdy is highly misleading. The Second Circuit was not discussing revocation of a temporary D-1

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 have been met would be fully reviewable, for the reasons set forth in Cho. Here, shore passes

 were revoked from every member of the Marguerita’s crew. Any “determination” that the

 vessel had arrived with no bona fide crewmen would have been (or was) entirely disingenuous,

 and the government does not even argue that any such good faith determination was in fact

 made. To whatever extent CBP officials claim they “determined” that the entire crew were mala

 fide crewmen, such a determination would have to be set aside, as in Cho, as lacking substantial

 evidence in the record and/or misapplying the law. Indeed, as detailed at pages 2-3 above, the

 CBP admits it revoked the shore passes solely at the Coast Guard’s request. Plaintiffs note the

 vessel was allowed to sail with all crewmembers whose permits had been revoked (save only

 those held as human collateral under the Agreement on Security and one D-2 permittee who was

 eventually allowed to fly home) serving vital crew roles.

          Besides the factual determination of crewman phoniness, section 182 imposes two

 additional preconditions before an immigration officer has discretion to revoke a D-1 permit.

 First, the officer must act “[p]ursuant to regulations prescribed by the Attorney General.” 8

 U.S.C. § 1282(b). Defendant has made no showing that the CBP officials acted in accordance

 with any such regulations.4 Second, the issuance of a D-1 landing permit is “subject to

 revocation in subsequent proceedings as provided in subsection (b) ….” Id., § 1282(a)

 (emphasis supplied). Here, there were no subsequent proceedings, whether formal or informal.

 CBP agents simply confiscated the duly issued permits without explanation.




 permit under section 1282(b) but, rather, the very different criteria for revoking a permanent landing permit (Form I-
 184) as set forth in a regulation, 8 C.F.R. § 252.4. See id. Of course, the court also was not addressing the IIRIIA,
 which would not be enacted for another thirty years. Defendant has no other authority, and nothing in section
 1282(b) remotely suggests, that revocation may be based on any other criteria not specifically stated in the statute.
 4
  There is one regulation that simply paraphrases the latter part of section 1282(b) in the event of revocation, see 8
 CFR § 252.2; but that could not be what Congress intended or the directive would be meaningless.

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        Finally, as explained below, the government lacks authority to revoke D-2 shore passes.

 That lack of authority confirms that the authority to revoke D-1 passes was intentionally limited

 to those crewmen fairly determined to be phony or who do not intend to leave. Thast authority to

 revoke is focused on and limited to those fairly determined to be trying to sneak into the country

 illegally. No such concern exists with respect to foreigners permitted to enter solely to depart via

 other transportation (whether they were genuine crewmen or not).

        For all these reasons, the revocation of the D-1 permits based on an ostensible “mala fide

 crewmen” determination is not shielded form judicial oversight.

            b. The statute does not bar judicial review of the revocation of Plaintiff Zak’s
               D-2 permit.

        The analysis concerning the revocation of a D-2 permit is even more straightforward.

 Once a D-2 permit is issued, immigration officers have no authority, discretionary or otherwise,

 to revoke it. The revocation statute allows such officers to revoke only “the conditional permit

 to land which was granted such crewmen under the provisions of subsection (a)(1)” -- the

 subsection that authorizes a temporary landing permit (D-1) to a crewman that “intends to depart

 on the vessel or aircraft on which he arrived.” No provision grants discretion to revoke a pass

 granted under subsection (a)(2), covering a temporary landing permit (D-2) for a crewman that

 intends to depart “on a vessel or aircraft other than the one on which he arrived.” 8 U.S.C. §

 1282 (emphasis supplied). Even Defendant acknowledges that section 1828(b) does not

 “explicitly” authorize revocation of D-2 permits. See Defendant’s Memorandum at 6. Yet not

 merely explicit authorization but explicit discretion is the sine qua non of the jurisdiction-

 stripping statute. See Kucana, 558 U.S. at 243 & n. 10.

        Lest there be any doubt, the issue is foreclosed by INS v. Stanisic, 395 U.S. 62, 74, 89 S.

 Ct. 1519, 23 L. Ed. 2d 101 (1969) (section 1282(b), a “provision of limited applicability,” “does

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 not apply to an alien crewman … who enters on a ‘D-2’ permit allowing him to depart on a

 different vessel”).5

          Defendant fails to address or even cite Stanisic, instead relying on Bao Tai Nian v. Older,

 683 F.3d 1227 (9th Cir. 2012). That case, however, had nothing to do with revocation of a D-2

 permit. Defendant claims that “[a]part from [the plaintiff’s] asylum proceeding, the Ninth

 Circuit declined to consider his petition for review.” See Defendant’s Memorandum at 7.

 Defendant is reading into the case a holding that is not there. The only issue was whether the

 court had jurisdiction over a denial of the Plaintiff’s “asylum only” petition under 8 C.F.R. §

 208.2(c). 683 F.3d at 1228. The court concluded it indeed had jurisdiction. Id. at 1230.

          Bereft of supporting authority, Defendant falls back on a policy argument, absurdly

 warning that withholding discretion to revoke D-2 permits “would mean an alien crewmember

 armed with a shore pass can evade accountability for himself or on others’ behalf, whether for

 pollution, record keeping or marine safety violations, drug smuggling, human trafficking, or any

 federal crime.” Defendant’s Memorandum at 7. But alien crewmembers who have violated any

 U.S. laws are subject to arrest like everyone else. And, of course, before issuing D-2 permits,

 CBP officials are required to do a background check. If they then believe that the applicant may

 have committed a crime, they may, in their discretion, deny the shore pass. Even if there were

 any merit to Defendant’s implied argument that permit revocation is necessary to arrest foreign

 crewmembers for high-seas conduct, it falls to Congress, not the Court, to amend the statute.

              c. The statute does not bar judicial review of the confinement of Plaintiffs on
                 board the vessel associated with the improper shore pass revocation.



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  See also S. Rep. No. 1515, supra, (PageID # 7515) at 558 (expressing intent that “[a]uthority should be granted to
 immigration officers in a case where the alien crewman intends to depart on the same vessel on which he arrived,
 upon a satisfactory finding that an alien is not a bona fide crewman, to revoke the permission to land temporarily, …
 and remove him from the country.”) (emphasis supplied).

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        There is little for Plaintiffs to respond to with respect to their detention, as Defendant

 offered only a conclusory assertion on the point. See Defendant’s Memorandum at 8.

 Significantly, it was the Coast Guard, not CBP officials, who demanded the crewmembers’

 landing permits be revoked and they be detained.

        Moreover, section 1282(b) does not grant immigration officials discretion to detain any

 crewmen on their vessel who has been granted a landing permit. Instead the statute authorizes

 immigration officials, solely with respect to a holder of a D-1 permit who is not a bona fide

 crewman or does not intend to depart on the vessel that brought him, to “require the master or

 commanding officer of the vessel… to receive and detain him onboard such vessel….” Id., §

 1282(b).

        The sole reason for authorizing immigration officials to revoke the D-1 permits of those

 who are not bona fide crewmen or who do not intend to return, and to require the master to

 receive and detain them, is to fulfill the requirement that “such crewman shall be removed from

 the United States.” Id. The clear purpose of the statute is to prevent persons, under the guise of

 crewmen seeking temporary shore leave, from illegally immigrating into the United States. The

 actions of the CBP officials here, aiding the Coast Guard’s plan to hold foreigners as substitute

 human collateral inside the United States, had the opposite purpose and effect of forcing

 innocent foreign seafarers into this country against their will. The officials perverted the law

 they were entrusted to enforce. The Court can and should review these unauthorized actions.

        2. The revocation of Plaintiffs’ shore passes was not an immigration-enforcement-
           related action, was not separate from their detention onboard the vessel, and is
           readily analogous to private-person liability. It is therefore actionable under the
           federal tort claims act.

        Helpful guidance on this issue is provided by Liranzo v. United States, 690 F.3d 78 (2d

 Cir. 2012). There, the plaintiff, a United States citizen who had been convicted of a felony drug

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 possession charge, was detained by immigration officials who, believing he was a permanent

 resident alien, began removal proceedings against him. Id. at 80. He sued for false arrest and

 false imprisonment under the FTCA. Id. The district court dismissed the complaint on the theory

 that immigration detentions have no private analogue. Id. at 84.

        The Second Circuit disagreed and reversed the judgment. Id. at 98. Among other cases,

 it relied on the Supreme Court’s Indian Towing decision, which arose from the Coast Guard’s

 operation of a lighthouse. See Indian Towing Co. v. United States, 350 U.S. 61, 76 S. Ct. 122,

 100 L. Ed. 48 (1955). Although the operation of lighthouses was performed only by the

 government, that did not mean there was no private analogue. Id. at 66-67. It was insufficient

 for the government to say that the lighthouse operation was a uniquely governmental function,

 because “all Government activity is inescapably ‘uniquely governmental’ in that it is performed

 by the Government.” Id. at 67. The “presence of identical private activity” was not required to

 find a private analogue, because the statutory phrase “under like circumstances” does not mean

 “under the same circumstances.” Id. at 64, 67. The FTCA “extends to novel and unprecedented

 forms of liability.” Id. at 159.

        The Liranzo court also discussed United States v. Muniz, 374 U.S. 150, 83 S. Ct. 1850, 10

 L. Ed. 2d 805 (1963). See Liranzo, 690 F.3d at 88. In Muniz, the Supreme Court allowed an

 FTCA suit for personal injuries sustained during confinement in a federal prison, rejecting the

 assertion that “the relationship between the federal prisoner and his custodians” is “uniquely

 federal in character.” See id. It concluded that, in the context of the federal prison system, “an

 analogous form of liability exists. A number of States have allowed prisoners to recover from

 their jailers [and from the States] for negligently caused injuries.” Muniz, 374 U.S. at 159-60.




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        In accordance with these decisions, the Second Circuit explained that the fact that

 immigration detentions are “uniquely governmental” does not mean they have no private

 analogue for FTCA purposes. Liranzo, 690 F.3d at 94. Where the government is the only entity

 that performs the actions complained of, courts are “require[d]… to look further afield” for a

 private analogue. Id., quoting United States v. Olson, 546 U.S. 43, 46, 126 S. Ct. 510, 163 L. Ed.

 2d 306 (2005). The court readily found an analogy with private persons making a “citizen’s

 arrest.” Id. at 94-95. The court distinguished Akutowicz v. United States, 859 F.2d 1122 (2d Cir.

 1988) because, there, no detention had taken place; the only action complained of was the

 removal of the plaintiff’s citizenship. Liranzo, 690 F.3d at 96. It also concluded that in Caban v.

 United States, 728 F.2d 68 (2d Cir. 1984), the court “never even considered the FTCA’s private

 analogue requirement, as that issue was simply not before it on appeal.” Id. at 93.

        In numerous other cases, private analogues have been found for immigration officials’

 activities. For example, in Mayorov v. United States, 84 F. Supp. 3d 678, 697-701 (N.D. Ill.

 2015), the court considered FCTA claims of negligence and false imprisonment arising from an

 immigration detainer issued against the plaintiff by ICE officers and analogized those claims to

 negligence by a private security contractor and a citizen’s arrest. In Avalos-Palma v. United

 States, 2014 U.S. Dist. LEXIS 96499, 2014 WL 3524758, *12 (D.N.J. July16, 2014), the court

 analogized wrongful deportation by ICE agents to violations of a statutory duty by a private

 person with supervisory authority over the plaintiff. In D.J.C.V. v. United States, 605 F. Supp.

 3d 571, 599-600 (S.D.N.Y. 2022), the court allowed claims for intentional and negligent

 infliction of emotional distress where immigration officials had separated a father from his minor

 child following illegal entry into the United States, noting “At the outset, the Government is

 correct that only the federal sovereign could separate D.C. and D.J.C.V. in the precise manner



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 alleged here. But that does not control. … [T]he allegations here fall easily within New York

 law’s definition of the causes of action of these torts, such that these could be pursued against a

 private party in like circumstances.”6 See also D’Alessandro v. United States, 2022 U.S. Dist.

 LEXIS 76111 (W.D.N.Y. Apr. 26, 2022) (upholding FTCA claim of false imprisonment based

 on immigration detention and granting summary judgment for plaintiff); Roe v. United States,

 2019 U.S. Dist. LEXIS 43124, *16 (S.D.N.Y. Mar. 8, 2019) (in FTCA suit arising from

 deportation of foreign national, court found “that each of Plaintiff’s FTCA claims would be

 viable as tort claims against private citizens who disregarded or violated a statutory duty”);

 Segura v. United States, 418 F. Supp. 3d 605, 610 (E.D. Wash. 2019) (reasonably analogous

 private party conduct for CBP officers in like circumstances was that of a private security officer

 engaging in discriminatory conduct); Watson v. United States, 133 F. Supp. 3d 502 (E.D.N.Y.

 Sept. 29, 2015) (where ICE wrongfully detained plaintiff and denied him certificate of

 citizenship, plaintiff had FTCA claims); Avalos-Palma v. United States, 2014 U.S. Dist. LEXIS

 96499, *33 (D.N.J. July 16, 2014) (“this court has found many cases analogizing false

 imprisonment through detention by immigration agents to detention by private citizens”);

 Vasquez-Mentado v. Vuitron, 2013 U.S. Dist. LEXIS 74398 (N.D.N.Y. May 28, 2013) (because

 border patrol agents lacked probable cause to arrest, plaintiff had FTCA claim for false

 imprisonment).

         Here, the sole purpose of taking away the crew’s landing permits was to aid the Coast

 Guard’s desire to confine them. CBP and Coast Guard officials thus colluded to commit the torts

 of false arrest and false imprisonment. The essence of both torts is intentionally causing the


 6
  In a plethora of cases, courts have allowed FTCA suits arising from immigration officials’ enforcement of
 separation policies in enforcing border control. See, e.g., Nunez Euceda v. United States, 2021 U.S. Dist. LEXIS
 204200 (C.D. Cal. Apr. 27, 2021); C.M. v. United States, 2020 U.S. Dist. LEXIS 252691 (D. Ariz. Mar. 30, 2020);
 A.P.F. v. United States, 492 F. Supp. 3d 989, 996-97 (D. Ariz. 2020).

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 confinement of the plaintiff without proper authority. See, e.g., Smith v. Heritage Salmon, Inc.,

 180 F. Supp. 2d 208, 220 (D. Me. 2002); Borlawski v. Town of Windham, No. CV-99-426, 2004

 Me. Super. LEXIS 125, *12-13 (Me. Super. Ct., Cum. Cty., Mar. 26, 2004). These torts may be

 committed either by private individuals or by government actors, and through a limitless variety

 of means. See Smith, 180 F. Supp. 2d at 220. Of course, when the torts are perpetrated by law

 enforcement officers, such officers have tools and techniques at their disposal that are not

 available to the general public. For instance, they can use government facilities, government-

 issued forms and documents, and the badge of their office. But the use of these instruments,

 even if “uniquely governmental,” does not make the analogy to private-party torts any less

 compelling. In this case, the focus should not be on whatever forms the CBP officials filled out

 but, rather, on what they intended to and did accomplish, which was the lengthy confinement of

 Plaintiffs and their coworkers to accommodate others (the Coast Guard), not to protect the

 border.

           It may well be that only CBP officials are authorized to revoke temporary landing permits

 (though not D-2 permits); but, as the Supreme Court explained, such authority is quite limited.

 See Stanisic, 395 U.S. at 74, 78. As demonstrated above, CBP personnel lacked the authority to

 revoke Plaintiffs’ permits under the circumstances here. Acting without authority and at the

 direction of other government officials with no arguable authority, their combined actions were

 not dissimilar to what a private person could do to bring about a false imprisonment. A private

 person could seize items of property – a wheelchair, for instance, or perhaps car keys or clothing

 – for the purpose of inhibiting a person’s freedom of movement. The permit seizure is no

 different from confiscating Plaintiffs’ passports – which Defendant also did, and which a civilian

 could do as well. Indeed, when private citizens directly take others’ travel documents they have



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 private liability for the damage done. Similarly, a private person could ask a law enforcement or

 immigration official to detain a person for a reason unrelated the officials’ genuine authority (as

 the Coast Guard did through the CBP here). There can be no question that a private citizen

 would be liable if he successfully implored a CBP official to declare a bona fide crewman to be

 an impostor to facilitate the private person’s financial gain.

            Furthermore, it would be inappropriate to view the CBP actions in a vacuum. They were

 part of an integrated effort to detain the plaintiffs without judicial process unrelated to

 immigration matters. All these actions, taken together, tortiously deprived Plaintiffs of their

 freedom and render Defendant liable under the FTCA.

            To label the revocations “an immigration enforcement-related action” in no way changes

 this conclusion.7 Any action by an immigration official under color of office can be called by

 that term. CBP personnel are charged with immigration enforcement. As such, it is well settled

 that they are “law enforcement officers of the United States Government” within the meaning of

 section 2680(h) of the FTCA. Congress amended the FTCA to expressly waive sovereign

 immunity for various tort claims, including false arrest and false imprisonment, against such

 officers.

            The government mistakenly argues that CBP officials may simply declare genuine

 crewmen to be phonies, without meaningful explanation, to promote non-immigration objectives.

 The government could just as logically argue those officials have “discretion” to declare U.S.

 citizens with no vessel connections to be vessel stowaways and, to facilitate private gain, detain

 them on a vessel without judicial process. But the existence of governmental authority and




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     By the CBP’s representative’s own admission, the revocation had nothing to do with immigration enforcement.


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 discretion in certain circumstances does not authorize the violation of rights and the commission

 of clear torts in other circumstances.

                                                 CONCLUSION

          The provision of 8 U.S.C. § 1252(a)(2)(B)(ii) precluding judicial review of certain

 immigration actions specified by statute as discretionary did not apply to the challenged CBP

 actions, because such actions, under the circumstances shown here, were not authorized, let

 alone discretionary. If acts similar or analogous to such unauthorized actions had been

 committed by or on behalf of a private party, the private party would be liable under torts

 included in the FTCA’s “law enforcement proviso.” Consequently, Plaintiffs’ FTCA claims are

 not barred and should be tried on the merits. 8

          Executed in Portland, Maine, this 7th day of April 2023.

                                                        /s/ Edward S. MacColl
                                                       Edward S. MacColl

                                                       /s/ Marshall J. Tinkle________
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                               CERTIFICATE OF SERVICE

         I certify that, on the above date, I made due service of the above document by
 electronically filing the same using the Court’s EM/ECF system.

                                                       /s/Edward S. MacColl

 8
   Plaintiffs brought this action both to recover damages for wrongful acts that ended their careers and because,
 knowing that U.S. government officials have subjected many other seafarers to the same unlawful actions, they hope
 to deter such conduct. However, they have not sought class certification and do not represent anyone but themselves.
 Defendant has repeatedly inquired who is paying their counsel, insinuating that a third party may be funding this
 case or that some other agenda is at work. To eliminate doubt, Plaintiffs state categorically that no third party has
 ever paid or offered to pay any remuneration to either themselves or their counsel in connection with this suit.
 Plaintiffs and their counsel brought this action because governmental actors wrongfully detained these innocent
 foreigners, warranting just compensation and an end to these extra-judicial, ultra vires detentions.

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